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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA

    v.                                                  No. 1:19-cr-10079-RWZ

 JOHN VANDEMOER



                   DEFENDANT JOHN VANDEMOER’S UNOPPOSED
                   MOTION TO MODIFY PRETRIAL CONDITIONS TO
                        ALLOW A CHANGE OF RESIDENCE

         Defendant John Vandemoer respectfully requests this Court modify his conditions of

pretrial release to allow him to move from one address in the Northern District of California to

another in the same district. Mr. Vandemoer has alerted U.S. Probation of the impending move,

the reasons for it, and the location of the new residence. U.S. Probation has informed counsel

that they do not object to the move.




                                                            Respectfully submitted,

                                                            JOHN VANDEMOER

                                                            By his attorneys,

                                                             /s/ R. Scott Seitz
                                                            Robert A. Fisher (BBO No. 652602)
                                                            R. Scott Seitz (BBO No. 696658)
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  Dated: April 16, 2019




                          LOCAL RULE 7.1(A)(2) CERTIFICATION

        I hereby certify that I conferred with counsel for the government in an attempt to resolve
or narrow the issues raised by this motion and the government has notified me that it does not
oppose the motion.


                                                             /s/ R. Scott Seitz
                                                             R. Scott Seitz



                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of the forgoing was filed electronically on April 16, 2019, and
thereby delivered by electronic means to all registered participants as identified on the Notice of
Electronic Filing.


                                                             /s/ R. Scott Seitz
                                                             R. Scott Seitz




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